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 8                         UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9                               EASTERN DIVISION
10
11   LAURA DURAN,                                )       CASE NO: EDCV21-00599-KK
                                     )
12                    Plaintiff,     )                   [PROPOSED] ORDER AWARDING
                                     )                   EAJA FEES
13               v.                  )
                                     )
14   KILOLO KIJAKAZI1, Acting        )
     Commissioner of Social Security )
15   Administration,                 )
                                     )
16                    Defendant.     )
     ______________________________ )
17
18          Based upon the parties’ Stipulation for Award and Payment of Equal Access
19   to Justice Act (EAJA) Fees (“Stipulation”),
20          IT IS ORDERED that Plaintiff shall be awarded attorney fees under the
21   Equal Access to Justice Act, ("EAJA”) in the amount of FOUR HUNDRED
22   EIGHTY DOLLARS and 91/cents ($480.91), as authorized by 28 U.S.C. § 2412
23   (d), and subject to the terms and conditions of the Stipulation.
24     DATED: November 10, 2021 __________________________________
                                      _____________________
25
                                               RABLE KENLY
                                          HONORABLE  KE
                                                      ENLY KIYA KATO
26                                        UNITED STATES MAGISTRATE JUDGE
27
            1
              Kilolo Kijakazi is now the Acting Commissioner of the Social Security Administration.
28   Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Kilolo Kijakazi should be
     substituted for Commissioner Andrew M. Saul as the defendant in this suit. No further action
     needs to be taken to continue this suit by reason of the last sentence of section 205(g) of the
     Social Security Act, 42 U.S.C. § 405(g).

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